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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 McCAFFREE FINANCIAL CORP. and               Civil Action No.: 2:20-cv-05492-ES-
 MARK McCAFFREE, individually, on            MAH
 behalf of all situated participants,
 beneficiaries, and plan sponsors or other
 fiduciaries, and on behalf of the ADP       MEMORANDUM OF POINTS
 TOTALSOURCE RETIREMENT                      AND AUTHORITIES IN
 SAVINGS PLAN,                               SUPPORT OF ADP
                                             DEFENDANTS’ MOTION TO
                    Plaintiff,               DISMISS PLAINTIFFS’
                                             AMENDED COMPLAINT
       v.
                                             Motion Date: ___________
 ADP, INC.; ADP TOTALSOURCE
 GROUP,
 INC.; the ADMINISTRATIVE
 COMMITTEE
 OF THE ADP TOTALSOURCE
 RETIREMENT SAVINGS PLAN; 401K
 ADVISORS, INC. n/k/a NFP
 RETIREMENT,
 and DOES No. 1-10, Whose Names Are
 Currently Unknown,

                    Defendants.
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                                 INTRODUCTION
       In granting Defendants’ prior motion to dismiss, the Court held that Plaintiff

 McCaffree Financial Corporation (“MFC”) had failed to sufficiently plead

 constitutional or statutory standing. (See ECF 91 at 15.) While the Court granted

 MFC leave to file an amended complaint showing that it has standing, MFC has

 again failed to do so. Instead, MFC repleads the same theories the Court already

 rejected. That is, MFC again alleges that it has constitutional and statutory standing

 as a fiduciary authorized to bring suit under § 502(a)(2) of ERISA because it (1)

 had the power to amend the Plan terms as to its employees, (2) selected this Plan

 from among other Multiple Employer Plans (“MEPs”), and (3) could have elected

 to leave the Plan in favor of a different MEP. MFC relies on the same regulatory

 preamble the Court already has found is entitled to “no deference.” Plaintiffs’

 Amended Complaint offers no new basis for MFC’s standing and the Court should

 dismiss it.

       Plaintiffs’ Amended Complaint also adds Mark McCaffree (“McCaffree”) as

 a named plaintiff in his individual capacity. While McCaffree—as a Plan

 participant—does not have the same statutory standing issues as MFC, he

 nonetheless fails to plead facts showing that he has constitutional standing.

 Specifically, and though he purports to challenge the prudence of certain

 investment options offered in the Plan, McCaffree does not identify the funds, if
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 any, in which he invested. As such, he pleads no facts showing that any alleged

 excessive fee would have caused him harm, or that prevailing on the investment-

 related claims would change his ultimate retirement benefit at all. He has not

 pleaded an injury-in-fact, and has not demonstrated that he has standing as to the

 investment-related claims.

       Even if Plaintiffs had standing, their claims still would fail as a matter of

 law. Plaintiffs’ Amended Complaint makes no attempt to cure the substantive

 pleading defects found in the original complaint. Indeed, Paragraphs 32 through 99

 of the Amended Complaint—which, aside from MFC’s standing allegations (ECF

 96, ¶¶ 20–31) comprise the entirety of the “Factual Allegations,” “Class

 Allegations,” and causes of action sections of the Amended Complaint—are

 substantively identical to Paragraphs 21 through 88 of the original complaint, with

 only semantic changes between the two to account for the addition of McCaffree as

 a plaintiff. The arguments in Defendants’ initial motion to dismiss as to MFC’s

 failure to state a claim apply with equal force to the new pleading.

       Plaintiffs’ imprudence claims rely solely on hindsight-based comparisons to

 other plans and other investment options. But fiduciary performance is not to be

 measured in hindsight; it is measured by the process and decisions at the time they

 were made, based on information then available to the fiduciary. Plaintiffs’

 comparison of the Plan to alleged cheaper, better-performing alternatives fails to



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 account for the fact that there exists “a range of reasonable judgments a fiduciary

 may make based on her experience and expertise,” and that there is no fiduciary

 obligation to offer participants only the highest performing and cheapest possible

 retirement plan. At most, Plaintiffs’ allegations identify conduct that is equally

 consistent with lawful behavior. They also utterly fail to address the unique nature

 of the Plan as a MEP, rendering many of their comparisons inapt. Their allegations

 are insufficient to state a claim.

       Finally, with the addition of McCaffree to this action, Plaintiffs have added a

 named Plaintiff who was not encompassed by their original proposed class, and

 whose claims were not tolled by the initial filing. Applying ERISA’s six-year

 statute of repose, the Court should dismiss any claim McCaffree asserts for

 conduct prior to May 2, 2016 (six years before the Amended Complaint was filed).

                                      BACKGROUND1
       The ADP TotalSource Retirement Savings Plan (the “Plan”) is a 401(k)

 defined-contribution employee pension benefit plan. (Am. Compl., ECF 96 at ¶ 3.)

 Unlike most 401(k) plans—which are offered by a single sponsoring employer for




 1
   The factual background relevant to this motion was previously set out in
 Defendants’ motion to dismiss the original complaint (ECF 20-1 at 10–16), and
 summarized by the Court in granting that motion. (ECF 91 at 1–3.) Those facts are
 largely unchanged with respect to this motion, and are incorporated by reference
 here.

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 its eligible employees—the Plan is a “multiple employer 401(k) plan” or “MEP,”

 sponsored by ADP TotalSource Group, Inc. (“TotalSource”). (ECF 96 at ¶¶ 1, 3.)

 ¶¶ 3; 15; 22.) TotalSource—a subsidiary of ADP, Inc. (“ADP”)—is a Professional

 Employer Organization (“PEO”), which enters into agreements with other

 companies whereby it jointly employs those other company’s employees. (ECF 96

 at ¶ 13.) In addition to establishing a contractual joint employer relationship,

 TotalSource contracts with those companies to provide a variety of comprehensive

 administration outsourcing solutions, one of which is participation in the Plan.

 (ECF 96 at ¶¶ 1, 3, 13.)

       TotalSource is responsible for appointing members to the Administrative

 Committee of the ADP TotalSource Retirement Savings (the “Committee”), the

 Plan Administrator.2 Defendants, through the work done by the Committee in that

 role, are responsible for “selecting, monitoring, and retaining service provider(s)

 that provide investment, recordkeeping, and other administrative services” to the

 Plan. (ECF 96 at ¶ 5.)

       For employees to become eligible to participate in the Plan, their employers

 must enter into an Adoption Agreement. (ECF 96 at ¶ 23.) The Adoption

 Agreement, in turn, requires those employers to agree that participation in the Plan



 2
  Plaintiffs refer to ADP, TotalSource, and the Committee as the “ADP
 Defendants.” (ECF 96 at ¶ 1.)

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 will be governed—as is required by ERISA—by the terms of the Plan document.

 (ECF 96 at ¶ 23.) Under the terms of the Plan, each adopting employer has the

 right and ability to adopt and amend certain terms; any amendment enacted by an

 adopting employer is applicable only to that employer’s employees and their

 beneficiaries. (ECF 96 at ¶¶ 24–25.) Adopting employers are also (with some

 limitations) free to end their participation in the Plan, at which point any assets

 allocable to that employer’s participants and beneficiaries must be removed from

 the Plan, often within short notice periods once an employer elects to discontinue

 participation. (ECF 96 at ¶¶ 26, 30.)

       MFC is a participating employer, and its employees are eligible to

 participate in the Plan. (ECF 96 at ¶¶ 3, 10.) McCaffree is an MFC employee, and

 a Plan participant. (ECF 96 at ¶ 11.)

       The Plan is a defined contribution plan. That means that a participant’s

 benefit under the Plan is the sum of employee and employer contributions and

 investment performance, less fees and expenses. (See ECF 96 at ¶ 19.) At the end

 of 2018, the Plan had approximately 114,254 participants with account balances

 and assets totaling over $4.44 billion. (ECF 96 at ¶ 4.) Plaintiffs allege that during

 the alleged class period, the Plan offered participants a variety of investment

 options in which the participants could elect to invest, including collective trusts,

 mutual funds, and a self-directed brokerage window. (ECF 96 at ¶ 34.)



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       Participants in the Plan pay investment management fees, generally

 expressed as an “expense ratio.” See 29 C.F.R. § 2550.404a–5(d)(1)(iv)(A); see

 also ECF 96 at ¶ 41 n.8 (defining “Total Plan Cost” to include investment

 management fees). The expense ratio represents the total fund expenses divided by

 the assets of the fund. See 29 C.F.R. § 2550.404a–5(d)(1)(iv)(A). These fees cover

 services including analysis, selection, and acquisition of the assets in the fund, the

 costs associated with participants buying and selling their interests in the fund, and

 monitoring when to change the composition of the investments in the fund. See,

 e.g., Loomis v. Exelon Corp., 658 F.3d 667, 670 (7th Cir. 2011).

       The Plan also incurs administrative fees, some of which are paid by

 participants. One component of these fees is for “recordkeeping,” that is,

 “maintaining records with respect to employees’ accounts in the Plan, effecting

 participant Plan investment elections, and performing administrative functions

 such as processing loan and withdrawal requests.” (ECF 96 at ¶ 37.) Beyond

 recordkeeping, administrative fees also include those for Investment Advisor

 (participant level), Investment Advisor (plan level), Legal, Audit, Administrator,

 Consultant, Brokerage, and Participant Communication. (ECF 96 at ¶ 46.)3 Many



 3
  See also https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-
 activities/resource-center/publications/understanding-retirement-plan-fees-and-
 expenses.pdf. (“The day-to-day operation of a plan involves expenses for basic


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 of these services are provided by a service provider known as a “recordkeeper.”

 (ECF 96 at ¶ 37.) Throughout the alleged Class Period, the Plan’s recordkeeper

 was Voya Institutional Plan Services, LLC (“Voya Financial”). (ECF 96 at ¶ 37.)

       Plaintiffs allege that Defendants breached ERISA’s duties of loyalty and

 prudence based on excessive fees. (ECF 96 at ¶¶ 41–56.) Specifically, Plaintiffs

 claim that the Plan’s “Total Plan Cost”—a metric by which they purport to have

 calculated the sum of all fees and expenses associated with the operation of the

 Plan—shows that the fees associated with participation in this Plan were

 “outrageous” and “significantly above the market average for similarly-sized and

 situated 401(k) plans.” (ECF 96 at ¶ 41.) They further allege that the Plan’s

 recordkeeping fees and administrative fees, standing alone, are “incredibly high,”

 and that prudent management of the plan would have resulted in a per-participant

 administrative cost of less than $35 per participant. (ECF 96 at ¶ 44.) Plaintiffs

 allege that Defendants’ alleged failure to obtain lower fees for the Plan, coupled

 with the selection of investment options for the Plan’s lineup that were run by

 entities affiliated with the Plan’s recordkeeper, had the result of benefiting “Voya,”



 administrative services — such as plan recordkeeping, accounting, legal and
 trustee services — that are necessary for administering the plan as a whole. In
 addition, a . . . 401(k) plan also may offer a host of additional services, such as
 telephone voice response systems, access to a customer service representative,
 educational seminars, retirement planning software, investment advice, electronic
 access to plan information, daily valuation, and online transactions.”).

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 rather than Plan participants. (ECF 96 at ¶¶ 50–56.) Finally, Plaintiffs claim that

 Defendants failed to monitor and remove from the Plan certain allegedly imprudent

 investment options. (ECF 96 at ¶¶ 57–80.)

                                     ARGUMENT

 I.    Legal Standard
       Under Rule 12(b)(1), a court may dismiss a claim at the pleading stage if the

 court does not have jurisdiction, including where the plaintiff fails to demonstrate

 it has standing. Ballentine v. United States, 486 F.3d 806, 810 (3d Cir. 2007) (“A

 motion to dismiss for want of standing is also properly brought pursuant to Rule

 12(b)(1), because standing is a jurisdictional matter.”). “Two types of challenges

 can be made under Rule 12(b)(1)—‘either a facial or a factual attack.’” In re

 Horizon Healthcare Servs. Inc. Data Breach Litig., 846 F.3d 625, 632 (3d Cir.

 2017) (quoting Davis v. Wells Fargo, 824 F.3d 333, 346 (3d Cir. 2016)). Where, as

 here, a defendant raises a facial attack on the plaintiff’s constitutional standing—

 that is, the motion asserts that the pleaded facts, taken as true, do not establish

 constitutional standing—the motion is assessed under the same standard as a

 motion under Rule 12(b)(6). See id. at 632–33.4




 4
  Unlike motions to dismiss for lack of constitutional standing, motions to dismiss
 for lack of statutory standing under ERISA are not jurisdictional and, therefore, are
 assessed under the Rule 12(b)(6), rather than Rule 12(b)(1). N. Jersey Brain &
 Spine Ctr. v. Aetna, Inc., 801 F.3d 369, 371 n.3 (3d Cir. 2015).

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       In assessing whether a complaint states a cause of action sufficient to

 survive dismissal under Rule 12(b)(6), the Court accepts “all well-pleaded

 allegations as true and draw[s] all reasonable inferences in favor of the plaintiff.”

 City of Cambridge Ret. Sys. v. Altisource Asset Mgmt. Corp., 908 F.3d 872, 878

 (3d Cir. 2018). “[T]hreadbare recitals of the elements of a cause of action, legal

 conclusions, and conclusory statements” are all disregarded. Id. at 878–79 (quoting

 James v. City of Wilkes-Barre, 700 F.3d 675, 681 (3d Cir. 2012)). The complaint

 must contain “sufficient factual matter, accepted as true, to ‘state a claim to relief

 that is plausible on its face.’” Sweda v. Univ. Pa., 923 F.3d 320, 325 (3d Cir. 2019)

 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)); Bell Atl. Corp. v. Twombly,

 550 U.S. 544, 570 (2007)). A claim is facially plausible when the plaintiff “pleads

 factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.” Zuber v. Boscov’s, 871 F.3d 255,

 258 (3d Cir. 2017) (quoting Iqbal, 556 U.S. at 678).

       In deciding a motion to dismiss claims alleging a violation of ERISA’s duty

 of prudence, courts must apply the pleading standard established in Iqbal and

 Twombly. See Hughes v. Nw. Univ., 142 S. Ct. 737, 742 (2022). “Because the

 content of the duty of prudence turns on ‘the circumstances . . . prevailing’ at the

 time the fiduciary acts, § 1104(a)(1)(B), the appropriate inquiry will necessarily be

 context specific.” Id. (quoting Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409,



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 425 (2014)). Ultimately, the plaintiff must establish “more than a sheer possibility

 that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678. Because courts

 must assess a fiduciary’s performance by looking at process rather than results, this

 means that, to state a claim for breach of fiduciary duty, a plaintiff must allege

 well-pleaded and non-conclusory facts from which the court could “infer . . . that

 the fiduciary’s process was flawed.” Sweda, 923 F.3d at 329 (quoting Renfro v.

 Unisys Corp., 671 F.3d 314, 327 (3d Cir. 2011)).5

 II.   Plaintiffs have not demonstrated that they have standing.
       It is Plaintiffs’ burden to establish standing. Berg v. Obama, 586 F.3d 234,

 238 (3d Cir. 2009) (citing FOCUS v. Allegheny Cty. Ct. of Common Pleas, 75 F.3d

 834, 838 (3d Cir. 1996)).

       Constitutional standing consists of three elements: “The plaintiff must have

 (1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct

 of the defendant, and (3) that is likely to be redressed by a favorable judicial

 decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citing Lujan v. Defs.

 of Wildlife, 504 U.S. 555, 560 (1992)). In addition, to proceed on the claims




 5
   To the extent the Third Circuit suggested in Sweda that the Twombly/Iqbal
 pleading standard did not apply to ERISA fiduciary breach claims, see Sweda, 923
 F.3d at 326, it was overruled by Supreme Court. See Hughes, 142 S. Ct. at 742
 (remanding dismissal of ERISA fiduciary breach claims, with instruction to apply
 pleading standard discussed in Iqbal and Twombly).

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 asserted here, each Plaintiff must plead facts sufficient to establish statutory

 standing. Edmonson v. Lincoln Nat’l Life Ins. Co., 725 F.3d 406, 419 (3d Cir.

 2013). Under ERISA, this requires that the plaintiff plead facts sufficient to

 establish they are a “participant, beneficiary or fiduciary” bringing suit for

 appropriate relief against a plan fiduciary for breach of fiduciary duty. See 29

 U.S.C. § 1132(a)(2).

       A.     MFC is not a fiduciary, and does not have standing to pursue the
              claims asserted.
       As it did in the initial complaint, MFC asserts that it has both statutory and

 constitutional standing because it claims to be a fiduciary. (See ECF 96 at ¶¶ 10,

 25–31, 89c.) As the Court has already held, however, “[f]iduciary status under

 ERISA is not merely a title, but a conclusion based on facts.” (ECF 91 at 8 (citing

 29 U.S.C. § 1102(21)(A))); In re Unisys Corp. Retiree Med. Benefits ERISA Litig.,

 579 F.3d 220, 228 (3d Cir. 2009); Hozier v. Midwest Fasteners, Inc., 908 F.2d

 1155, 1158 (3d Cir. 1990))). Further, ERISA’s functional definition of “fiduciary”

 is contextual, in that a person is a fiduciary “‘only to the extent’ [the] person acts in

 an administrative, managerial, or advisory capacity to an employee benefits plan.”

 Santomenno ex rel. John Hancock Tr. v. John Hancock Life Ins. Co. (U.S.A), 768

 F.3d 284, 291 (3d Cir. 2014) (quoting Pegram v. Herdrich, 530 U.S. 211, 225–26

 (2000)). Thus, MFC must do more than show that it is, generally, a “fiduciary;” it

 must establish that it is “a fiduciary with respect to the particular activity in


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 question.” See id. (quoting Renfro, 671 F.3d at 321) (internal citations omitted).

 While it has now pleaded certain “facts” in support of its claim to be a fiduciary,

 MFC still fails to plausibly allege that it meets the criteria set out in 29 U.S.C.

 § 1002(21)(A), which govern that determination.

       According to Plaintiffs, Defendants breached their fiduciary duties by

 subjecting the Plan to excessive total plan costs and excessive recordkeeping costs,

 by failing to oversee the Plan recordkeeper and engaging a recordkeeper with a

 conflict of interest, and by permitting objectively imprudent investment options.

 (ECF 96 at ¶¶ 40–80). Like the original complaint, however, the Amended

 Complaint does identify any facts showing that MFC had authority or control,

 discretionary or otherwise, with respect to management or administration of the

 Plan or Plan assets. Nor does MFC identify any role it has with respect to

 providing investment advice or selecting or retaining investment options for the

 Plan. While MFC repeats that it is a fiduciary, its pleads nothing showing that it

 ever was one “with respect to” the alleged conduct giving rise to Plaintiffs’ claims.

 See Renfro, 671 F.3d at 324.

       Rather than amending the complaint to allege any ways in which it has

 authority, control, or oversight duties with respect to setting or negotiating total

 plan costs or recordkeeping/administrative costs, appointing or terminating the

 recordkeeper or trustee, or advising or setting investment options, MFC has



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 amended its complaint to plead the same arguments the Court already rejected.

 (See ECF 91 at 9–15.)

       More specifically, MFC again suggests that is a Plan fiduciary because (i) it

 chose to initiate participation in the Plan as a participating employer; (ii) it signed

 an Adoption Agreement to initiate participation in the Plan, under which it had

 authority to amend portions of the Plan for its employees and/or to cease

 participation entirely; and (iii) as a result of its rights under the Adoption

 Agreement, it made the ongoing decision to continue participating in the Plan.

 (ECF 96 at ¶¶ 21–30.) MFC alleges that “[t]he responsibility of participating

 employers to select and monitor MEP providers, and particular discretion reserved

 to participating employers under the Plan, are sufficient to establish the fiduciary

 status of participating employers under ERISA.” (ECF 96 at ¶ 31.)

       MFC bases both its constitutional and statutory standing on the claim that it

 is a fiduciary. The Court already has considered—and rejected—the assertion that

 the roles MFC now alleges it played with respect to the Plan were sufficient to

 confer fiduciary status or standing to sue. The adoption, amendment, maintenance,

 and termination of a retirement plan are not fiduciary functions.6 (See ECF 91 at



 6
   To the extent Plaintiffs renew the argument that the Department of Labor
 regulations regarding MEPs indicated that these settlor functions are transformed
 into fiduciary actions where an employer elects to participate in a MEP (see ECF


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 10); see also Lockheed Corp. v. Spink, 517 U.S. 882, 890 (1996) (holding that

 when employers “adopt, modify, or terminate” plans “they do not act as

 fiduciaries” (citing Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 73, 78

 (1995))); Bennett v. Conrail Matched Savs. Plan Admin. Comm., 168 F.3d 671,

 679 (3d Cir. 1999) (“In amending a plan, the employer is acting as a settlor.”)).

 Thus, none of the actions MFC cites are make it a fiduciary.

       The Court should not disturb its prior holding on these points. MFC’s claims

 should be dismissed with prejudice, because it is not a fiduciary and does not have

 standing—as either a constitutional or statutory matter—to pursue the claims

 asserted.

       B.     McCaffree has not alleged any injury in fact with respect to the
              investment-related claims.
       McCaffree, in his individual capacity as a Plan participant, has statutory

 standing under ERISA to pursue under ERISA § 501(a)(2). However, he still must

 meet his burden to plausibly plead facts sufficient to establish Article III standing

 at the pleading stage. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016)

 (holding that at the pleading stage, “the plaintiff must clearly [] allege facts




 96 at ¶¶ 27–28), the Court has already found the cited text from the regulatory
 preamble is entitled to no deference, and does not alter the definition of “fiduciary”
 in any way, let alone in a way that supports finding MFC was a fiduciary with
 respect to the Plan. (ECF 91 at 11–14.)

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 demonstrating each element” of standing); Lewis v. Casey, 518 U.S. 343, 357

 (1996). (“That a suit may be a class action . . . adds nothing to the question of

 standing, for even named plaintiffs who represent a class must allege and show that

 they personally have been injured, not that injury has been suffered by other,

 unidentified members of the class to which they belong and which they purport to

 represent.”).

       Plaintiffs allege that, in addition to having excessive Total Plan Costs and

 recordkeeping fees, Defendants breached their fiduciary duties by “giv[ing] Voya

 carte blanche in designing the Plan’s investment menu so as to permit Voya to

 extract the most fees possible.” (ECF 96 at ¶ 50.) Plaintiffs further assert that, with

 respect to at least 16 of the Plan’s investment options, the funds at-issue were

 imprudently selected, retained, and/or monitored by Defendants. (ECF 96 at ¶ 60.)

 They base these claims on allegations regarding a combination of the funds’

 respective performance as to comparators and/or benchmarks, the fact that they

 were “actively managed” funds, not passive, index-based investments, and that, in

 certain instances, cheaper share classes were available to the Plan. (See ECF 96 at

 ¶¶ 61–80.)

       In a defined contribution plan, such as the Plan at issue here, a participant’s

 gains and losses are the product of the investments he selects. To establish

 constitutional standing on a claim that the plan’s investment options (or some of



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 them) were imprudent, “at a minimum, a plaintiff must allege a net loss in

 investment value that is fairly traceable to the defendants’ challenged actions.” See

 Brown v. Medtronic, Inc., 628 F.3d 451, 455 (8th Cir. 2018).

       The Third Circuit has recently clarified that, where a plaintiff alleges that

 fiduciaries breached ERISA’s duty of prudence as to multiple investment options,

 he or she need not have invested in all of the challenged options to have standing.

 See Boley v. Universal Health Servs., Inc., No. 21-2014, 2022 WL 1768984, at *4

 (3d Cir. June 1, 2022). For that to be true, however, the named plaintiff must (1)

 still have invested in “at least one” of the challenged investment options, and (2)

 must be alleging that all of the challenged options are imprudent “for the same

 reasons.” See id. Only if both conditions are met can the allegations, if true,

 establish that the plaintiff has suffered a concrete injury traceable to the alleged

 imprudent act. Id. As pleaded, McCaffree cannot meet either condition.

       As to the first condition, McCaffree simply fails to allege that he invested in

 any of the investment options whose inclusion in the Plan he now alleges to have

 been a fiduciary breach. Indeed, McCaffree pleads nothing at all about his own

 investments. (See generally ECF 96.) This glaring omission precludes any finding

 that he has plausibly pleaded injury in fact.

       If McCaffree has not invested in any of the challenged funds and “were to

 win this lawsuit, [he] would still receive the exact same [] benefits that [he is]



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 already slated to receive, not a penny more.” Thole v. U. S. Bank N.A, 140 S. Ct.

 1615, 1619 (2020). As currently pleaded, McCaffree’s allegations fail to establish

 that prevailing as to his investment-related claims would entitle him to any relief

 whatsoever. He has failed to plausibly allege that he has a “concrete stake in this

 dispute and therefore lack[s] Article III standing.” Id.

       As to the second condition, and as set out below with respect to the pleading

 of Plaintiffs’ investment related claims, Plaintiffs allege a variety of differing

 reasons why the challenged investments are allegedly imprudent. (ECF 96 at

 ¶¶ 57–80.) Because Plaintiffs do not allege each of these investment options was

 imprudent “for the same reasons,” allegations that he invested in any one of the

 challenged investment options would not be sufficient to allege an injury sufficient

 to confer standing on McCaffree to sue as to investment options alleged to be

 imprudent for reasons different than the funds in which he invested. See Boley,

 2022 WL 1768984 at *4.

       “There is no ERISA exception to Article III.” See Thole, 140 S. Ct. at 1622.

 McCaffree has not alleged that he suffered an injury in fact based on his

 investments in the Plan, nor has he pleaded claims that would confer standing on

 him as to investment options in which he did not invest. Accordingly, the claims

 that allege Defendants’ breached their fiduciary duties with respect to selections




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 and retention of certain investment options should be dismissed, as neither named

 Plaintiff has standing to pursue them.

 III.   Plaintiffs’ allegations regarding Total Plan Costs and Recordkeeping
        Fees reveal nothing about Defendants’ process, and do not support a
        reasonable inference of imprudent conduct.
        ERISA fiduciaries are held to the “prudent man” standard of care, which

 requires fiduciaries to exercise “the care, skill, prudence, and diligence under the

 circumstances then prevailing that a prudent man acting in a like capacity and

 familiar with such matters would use in the conduct of an enterprise of a like

 character with like aims.” Sweda, 923 F.3d at 328 (quoting ERISA § 404(a)(1)(B)

 (quotations omitted)). As the Third Circuit has instructed, “a court assesses a

 fiduciary’s performance by looking at process rather than results, ‘focusing on a

 fiduciary’s conduct in arriving at a decision and asking whether a fiduciary

 employed the appropriate methods to investigate and determine the merits of a

 particular investment.” Sweda, 923 F.3d at 329 (emphasis added) (quoting In re

 Unisys Sav. Plan Litig., 74 F.3d 420, 434 (3d Cir. 1996)).

        To plead a plausible claim for breach of the duty of prudence, Plaintiffs must

 plead that “(1) a plan fiduciary (2) breache[d] an ERISA-imposed duty (3) causing

 a loss to the plan.” Sweda, 923 F.3d 320, 328 (3d Cir. 2019) (quoting Leckey v.

 Stefano, 501 F.3d 212, 225–26 (3d Cir. 2007)). To do so, the plaintiff must

 plausibly allege both that the fiduciary: (1) failed to give “appropriate



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 consideration to those facts and circumstances that, given the scope of such

 fiduciary's investment duties, the fiduciary knows or should know are relevant to

 the . . . course of action involved . . . ,” 29 C.F.R. § 2550.404a–1(b)(1)(i), and (2)

 that the questioned action was objectively imprudent—i.e., that no “hypothetical

 prudent fiduciary” would have made the same decision being challenged in the

 case.” See Renfro, 671 F.3d at 322. At a minimum, to state a claim for breach of

 fiduciary duty, Plaintiffs must plead facts (not merely conclusions) from which the

 Court could “infer . . . that the fiduciary’s process was flawed.” Id. at 327. Of

 critical importance, “the circumstances facing an ERISA fiduciary will implicate

 difficult tradeoffs, and courts must give due regard to the range of reasonable

 judgments a fiduciary may make based on her experience and expertise.” See

 Hughes, 142 S. Ct. at 742.

       Like MFC’s initial complaint, Plaintiffs’ amended complaint pleads nothing

 about Defendants’ process for monitoring the fees paid for the myriad services the

 Plan’s recordkeeper performs. Nor do they plead facts showing that the fiduciaries

 did not reasonably select Voya. Lacking any actionable allegations as to

 Defendants’ fiduciary process, Plaintiffs instead resort to a series of cherry-picked

 comparisons, devoid of any context. First, they compare admittedly incomplete

 calculations of “Total Plan Costs” allegedly paid by the Plan, to aggregated data

 compiled from the Form 5500 filings from other single-employer plans. (See ECF



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 96 at ¶¶ 41–43.) Through that comparison, Plaintiffs assert that—in comparison to

 the “average” of their sample—the Plan’s “Total Plan Costs” reflect a failure by

 Defendants to ensure that the Plan’s expenses were reasonable and appropriate.

 (ECF 96 at ¶ 42.) These are obviously apples-to-oranges comparisons and do

 nothing to show a plausible breach.

       Continuing their efforts to turn the pleading standard on its head, in alleging

 that the Plan’s recordkeeping costs were “incredibly high,” Plaintiffs again focus

 on “results” rather than “process.” (ECF 96 at ¶ 44.) To bolster that claim,

 Plaintiffs point to the Brightscope/ICI study, and claim that the Plan’s fees were

 “far above the industry average” for plans with over $1 billion in assets. (See ECF

 96 at ¶¶ 46–47.)7 Based solely on those hindsight-based comparisons of the Plan’s

 fees to those reported in the results of a single study largely focused on a different

 type of plan, Plaintiffs speculate that Defendants “either engaged in virtually no

 examination, comparison, or benchmarking of the TPC and/or




 7
   The Brightscope/ICI study to which Plaintiffs cite is an analysis compiled from
 “plan-level data gathered from audited Form 5500 filings of private-sector defined
 contribution (DC) plans” for the year 2016. (See ECF 20-4 at 3.) The study
 generally refers to the 401(k) plans it is evaluating as being sponsored by a single
 “employer,” and does not reference any consideration of multiemployer plans like
 the one at issue here. (See generally ECF 20-4.) Moreover, the aggregated data
 included in the report does not speak to the quality or quantity of services received
 by the plans it studies, rendering comparisons like the ones Plaintiffs attempt to
 draw here meaningless.

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 recordkeeping/administrative fees of the Plan to those of other similarly-sized

 401(k) plans, or were complicit in paying grossly excessive fees.” (ECF 96 at

 ¶ 48.) Self-serving speculation is not enough to state a claim. McNamara v. New

 Jersey, No. CIV. 10-3651 RBK, 2010 WL 4810627, at *4 (D.N.J. Nov. 15, 2010)

 (citing Burlington Coat Fact. Sec. Litig., 114 F.3d 1410, 1429 (3d Cir.1997))

 (dismissing with prejudice claims asserting nothing but “self-serving speculation

 that, if allowed to conduct discovery, Plaintiff might encounter some facts allowing

 him to [state a claim] . . . .”).

        Plaintiffs’ amended complaint also says nothing at all about the services the

 Plan receives from Voya in exchange for the fees paid, and makes no effort to

 compare the nature or quality of those services to the services provided to

 comparable plans, let alone to the plans that participated in the Brightscope/ICI

 survey. See, e.g., Hughes, 142 S. Ct. at 742 (requiring that assessment of fiduciary

 performance be “context specific”); Young v. Gen. Motors Inv. Mgmt. Corp., 325

 F. App’x 31, 33 (2d Cir. 2009) (to allege a breach of fiduciary duty for excessive

 fees, a plaintiff must allege facts concerning factors “relevant to determining

 whether a fee is excessive under the circumstances.”). An ERISA plan participant

 suing for breach of fiduciary duty must at least allege sufficient facts from which a

 flawed process can be inferred. Sweda, 923 F.3d at 329. A claim that other plans

 paid less in the aggregate does not raise such an inference because there are



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 innumerable reasons why there might be a difference in fees and only one of that

 multitude of possible explanations is a breach of fiduciary duty. See Renfro, 671

 F.3d at 327 (quoting Braden, 588 F.3d at 596) (affirming dismissal because court

 was “unable ‘to infer from what is alleged that the process was flawed,’” where

 plaintiff alleged only that fees could have been less). In assessing the sufficiency of

 claims alleging fiduciaries breached ERISA’s duty of prudence, “courts must give

 due regard to the range of reasonable judgments a fiduciary may make based on

 her experience and expertise.” Hughes, 142 S. Ct. at 742. Plaintiffs’ claim,

 however, encourages the Court to ignore the possibility of a “range” of reasonable

 fees, and to instead infer an imprudence process from the fact that other (non-

 MEP) plans allegedly had lower fees than this Plan did. That inference is

 unwarranted and is inconsistent with the law.

       As the Court noted in granting Defendants’ prior motion, there are

 differences between single- and multi-employer plans that provide reason to

 distinguish between the two. (See ECF 91 at 11 (citing Walling v. Brady, 125 F.3d

 114, 117 (3d Cir. 1997).) Here, there is no indication that any of the plans included

 in the Brightscope/ICI plan was a MEP. (See ECF 20-4 at 3.) Despite having a

 chance to plead facts showing what other MEPs pay, Plaintiffs have offered

 nothing but the same survey. The only reasonable inference to draw from this is

 that Plaintiffs know they have no relevant evidence to support their recordkeeping



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 fee claim.

       As pleaded in the amended complaint, each participating employer has the

 ability to set Plan terms unique to its employees. (ECF 96 at ¶¶ 24–25.) As a result,

 and in contrast to a single-employer plan with a single set of rules, the

 administration of the Plan is not uniform across all 100,000+ participants.

 Plaintiffs’ comparison of the all-in cost of administering the unique Plan rules

 applicable to each participating employer’s employees to the costs of administering

 a very large single-employer plan is irrelevant in assessing whether the fees paid

 for the administrative services received by this Plan were reasonable.

       What’s more, the Internal Revenue Code and IRS rules impose

 administrative obligations on the Plan—as a MEP—that are more burdensome than

 those applicable to single-employer plans. Because the Plan is a MEP, it is “treated

 as” thousands of separate plans for many purposes,8 and must—for example—

 collect records for numerous tests for each of the thousands of individual client-

 employers on an annual basis, including (i) a test for nondiscrimination in the

 amount of employee salary deferral contributions;9 (ii) a test for nondiscrimination




 8
   See IRS Rev. Proc. 2002-21 (May 13, 2002); Rev. Proc. 2003-86 (December 15,
 2003).
 9
   See 26 U.S.C. § 401(k)(3).


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 in the amount of employer matching contributions;10 (iii) a test for

 nondiscrimination in the amount of employer non-matching contributions;11 and

 (iv) a test for compliance with minimum coverage requirements.12

       In addition, on an annual basis, the Plan’s administrator must determine

 whether the Plan is “top-heavy” under complex IRS rules on a client-by-client

 basis for each of the over 5,000 clients, and, if so, engage in communications with

 the client-employer and provide additional contributions with unique vesting

 provisions just for the employees of that individual client employer. See 26 U.S.C.

 § 416; 26 C.F.R § 1.416-1. The Plan’s administrator must also determine, annually,

 whether employees should be classified as “highly compensated” under IRS rules

 separately for each of the thousands of individual client-employers. See 26 U.S.C.

 § 414(q). Further, the Plan’s administrator must determine, annually, the

 deductibility of contributions for income tax purposes for each of the thousands of

 individual client-employers. See 26 U.S.C. § 413(c)(6)(A).

       Plaintiffs’ comparison of this Plan to single-employer 401(k) plans does not

 plausibly support an inference that the “process was flawed.” Sweda, 923 F.3d at

 329 (quotation omitted). Plaintiffs cannot simply claim that “fiduciaries could have




 10
    See 26 U.S.C. § 401(m)(2).
 11
    See 26 C.F.R. § 1.401(a)(4)-2(c).
 12
    See 26 U.S.C. § 410(b).

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 done better had they worked harder to leverage their market power.” Renfro v.

 Unisys Corp., No. 07 Civ. 2098, 2010 WL 1688540, at *6 (E.D. Pa. Apr. 26,

 2010), aff’d, 671 F.3d 314 (3d Cir. 2011). For these reasons, Plaintiffs’ allegations

 regarding the amount of fees paid by single-employer plans fail to raise any

 plausible inference that the Plan’s fiduciaries did not have a prudent process for

 analyzing, negotiating, and monitoring fees paid by the Plan.

 IV.   Plaintiffs’ categorical, hindsight-based claims of alleged imprudence of
       certain investment options do not state a viable claim under ERISA.
       Plaintiffs assert that several of the Plan’s investment options were

 imprudently offered to participants during the class period. (ECF 96 at ¶¶ 57–80.)

 Those funds are: (i) the Voya Target Solutions Collective Trusts, (ii) the Voya

 Trust Company Large Cap Growth, (iii) the Voya Trust Company Large Cap

 Value Fund, (iv) the American Funds Washington Mutual Fund, (v) the Federated

 Investors Clover Small Cap Value Fund, and (vi) the American Funds EuroPacific

 R4 Fund. (ECF 96 at ¶¶ 57–80.)

       Plaintiffs’ claims regarding these funds are speculative and based

 exclusively on improper, hindsight comparisons to the performance of Plaintiffs’

 cherry-picked alternatives. For example, with respect to the Voya Target Solutions

 Collective Trusts, Plaintiffs assert that Defendants must have been with unwilling

 or unable to demand “significantly lower” fees. (ECF 96 at ¶ 66.) Plaintiffs,

 however do not allege what a reasonable fee for the investment would have been


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 and, in fact, appear to concede that, by selecting collective trusts for these

 investment options, the fiduciaries were able to secure lower fees than are available

 to investors in any share class of the mutual fund version of Voya’s target date

 offerings. (ECF 96 at ¶ 66.) Plaintiffs cannot simply claim that “fiduciaries could

 have done better had they worked harder to leverage their market power.” Renfro,

 2010 WL 1688540, at *6. They must plead facts showing that a lower fee was

 available.

       A.     ERISA does not require fiduciaries to offer only the cheapest, best
              performing funds.
       ERISA does not require plan fiduciaries “to scour the market to find and

 offer the cheapest possible fund (which might, of course, be plagued by other

 problems).” Hecker v. Deere Co., 556 F.3d 575, 586 (7th Cir. 2009); see also

 Davis v. Wash. Univ. in St. Louis, 960 F.3d 478, 486 (8th Cir. 2000) (“But

 fiduciaries are not required to pick the best performing fund. Nor are they required

 to pick the lowest-cost fund.”) (quotation and citation omitted); Renfro, 2010 WL

 1688540, at *5 (explaining that “a plan fiduciary need not select the cheapest fund

 available”), aff’d, 671 F.3d 314 (3d Cir. 2011). Indeed, a prudent fiduciary must

 consider more than just price when selecting and retaining a plan’s investment

 line-up. See Dorman v. Charles Schwab Corp., No. 17-0285, 2018 WL 6803738, at

 *3 (N.D. Cal. Sept. 20, 2018) (dismissing claim noting that “a fiduciary considers

 not only modest differences in price and performance, but also other relevant


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 factors, such as strategy, security lending practices, economic cycles, and market

 cycles”); Patterson v. Capital Grp. Cos., No. 17-4399, 2018 WL 748104, at *5

 (C.D. Cal. Jan. 23, 2018) (“[F]iduciaries need not choose the cheapest fees

 available to the exclusion of other considerations—or all funds seeking

 investments from trusts and pension plans would have to charge the same fees

 regardless of the type of fund, management approach or services, performance, etc.

 in order to attract institutional clients.”). “Prudence” is also not “prescience;”

 fiduciaries are not required to have selected only those investment that turn out to

 generate the highest return over a particular period. Meiners v. Wells Fargo & Co.,

 898 F.3d 820, 823 (8th Cir. 2018) (“No authority requires a fiduciary to pick the

 best performing fund.”); see also Laboy v. Bd. of Trs. of Bldg. Serv. 32 BJ SRSP,

 513 F. App’x. 78, 80 (2d Cir. 2013) (affirming dismissal and stating “[i]t is well-

 established that allegations of poor results alone do not constitute allegations

 sufficient to state a claim for such a breach”).

       Plaintiffs’ theory, however, requires that fiduciaries do both. Plaintiffs ask

 this Court to consider prudence challenges based only on actual returns. If adopted,

 Plaintiffs approach would produce absurd results, and require fiduciaries to update

 the Plan’s investment lineup on a near-constant basis to ensure it tracked

 information on the highest-returning investments. “[T]he duty of prudence does not

 compel ERISA fiduciaries to reflexively jettison investment options in favor of the



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 prior year’s top performers.” Patterson v. Stanley, No. 16 Civ. 6568 (RJS), 2019

 WL 4934834 at *11 (S.D.N.Y. Oct. 7, 2019).

       Plaintiffs’ allegations that other investment options may have been cheaper

 and/or had higher returns than the ones included in the Plan do not plausibly

 support a reasonable inference that the Defendants’ fiduciary process was flawed.

 Plaintiffs do not plausibly allege that the proposed alternative investments are even

 comparable to the Plan’s investment options, making it impossible to know

 whether their comparisons actually show meaningful performance or fee

 differences. Even if they did, however, Plaintiffs are seeking to impose on

 Defendants a burden that the law does not. The Plan did not need to have the

 cheapest, highest-performing investments possible. Any claims resting on a

 contention that it did must be dismissed.

       B.     Plaintiffs’ allegations of “underperformance” are over-stated, and
              fail to suggest any imprudence in Defendants’ process.
       For a number of the challenged investment options, Plaintiffs assert that the

 Plan’s investments underperformed comparators and/or benchmarks over carefully

 selected time periods.13 Again, even if true, these allegations do not give rise to any



 13
   See, e.g. Plaintiffs’ Complaint, ECF 96 at ¶¶ 62 (alleging that portions of Voya
 Target Solutions underperformed “comparable” Vanguard funds on trailing 5-year
 basis); 69 (alleging Voya Large Cap Growth underperformed Russell 1000 Growth
 Index); 71 (Voya Large Cap Value Fund also underperformed its benchmark , the


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 implication that Defendants’ process was imprudent. When considering the

 performance of investments over time, “three to five years . . . are still considered

 relatively short periods of underperformance.” Dorman v. Charles Schwab Corp.,

 No. 17 Civ. 285 (CW), 2019 WL 580785, at *3, 6 (N.D. Cal. Feb. 8, 2019)

 (partially dismissing allegations that a particular fund “persistently and/or

 materially underperformed” for three to five years did not support an inference of

 imprudence). Multiple courts have recognized that a “fiduciary may—and often

 does—retain investments through a period of underperformance as part of a long-

 range investment strategy.” White v. Chevron Corp., No. 16 Civ. 793 (PJH), 2016

 WL 4502808, at *17 (N.D. Cal. Aug. 29, 2016); see also Jenkins v. Yager, 444

 F.3d 916, 926 (7th Cir. 2006) (dismissing ERISA fiduciary duty claims and

 holding fiduciary could prudently select “funds with long-term growth potential

 and . . . stay with those . . . funds even during years of lower performance”).

       Comparison of the Plan’s investments to benchmarks—standing alone—is

 insufficient to support a reasonable inference of imprudence. See Leber v.

 Citigroup 401(K) Plan Inv. Comm., 129 F. Supp. 3d 4, 14 (S.D.N.Y. 2015)

 (plaintiffs’ allegations of “a history of poor . . . performance for some of the

 [f]unds . . . as compared to certain benchmark indices” “d[id] not raise a plausible



 Russell 1000 Value index); 76 (Federated Investors Clover Small Cap Value Fund
 underperformed its benchmark, the Russell 2000 Value Index).

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 inference that a prudent fiduciary would have found th[ese] [f]unds to be ‘so

 plainly risky’ as to render the investments in them imprudent”); Laboy, 513 F.

 App’x at 79-80 (holding that allegations that fund had underperformed comparable

 funds by between 6% and 22% during the class period were insufficient to state a

 claim for breach of the duty of prudence). In fact, these claims are inherently

 nothing more than prohibited, hindsight attacks, because the information they are

 based on would not have been available to the fiduciaries at the time the

 challenged decisions were made. “[H]indsight cannot play a role in determining

 whether a fiduciary's actions were prudent.” In re Unisys Sav. Plan Litig., No. 91–

 3067, 1997 WL 732473, at *23 (E.D.Pa. Nov. 24, 1997), aff'd, 173 F.3d 145 (3d

 Cir. 1999).

       Indeed, Plaintiffs’ own allegations can be interpreted as suggesting that

 Defendants did adhere to prudent practices with respect to deciding whether to

 retain investment options over the class period. As Plaintiffs allege, the Voya Trust

 Company Large Cap Value Fund was removed from the Plan’s investment lineup,

 and replaced with the American Funds Washington Mutual investment option.

 (ECF 96 at ¶ 73.) The removal of this fund, standing alone, suggests that

 Defendants had a prudent process for monitoring the investment lineup. See White,

 2016 WL 4502808, at *17 (finding that removal of a fund creates a “plausible

 inference that the Plan fiduciaries were attentively monitoring the fund”.



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       C.     Actively-managed funds are not per se imprudent, and
              comparisons of them to passive index funds are irrelevant.
       Plaintiffs’ attack on the Plan’s offering of anything other than index funds is

 legally groundless. Index funds are not the standard for prudence, and their

 inclusion or lack thereof in the Plan lineup says nothing of the prudent process

 employed by Defendants. “[I]t is not imprudent for a fiduciary to provide both

 [active and passive] investment options. They have different aims, different risks,

 and different potential rewards that cater to different investors. Comparing apples

 and oranges is not a way to show that one is better or worse than the other.” Davis,

 960 F.3d at 486 (citation omitted); see also Ferguson v. Ruane Cunniff & Goldfarb

 Inc., No. 17-6685, 2019 WL 4466714, at *10 (S.D.N.Y. Sept. 18, 2019) (“ERISA

 does not require fiduciaries to include a particular mix of investment vehicles in a

 plan.”); Rosen v. Prudential Ret. Ins. & Annuity Co., No. 15 Civ. 1839 (VAB),

 2016 WL 7494320, at *15 (D. Conn. Dec. 30, 2016) (same); Taylor v. United

 Techs. Corp., No. 06 Civ. 1494 (WWE), 2009 WL 535779, at *10 (D. Conn. Mar.

 3, 2009), aff’d, 354 F. App’x 525 (2d Cir. 2009) (rejecting the argument that

 defendants breached their fiduciary duties “by offering actively managed

 investment options”).14



 14
   In actively-managed funds, “investment advisers try to find and buy underpriced
 securities while selling ones that the advisers think are overvalued,” with an eye


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       To state an imprudence claim, Plaintiffs must plead facts showing that no

 hypothetical prudent fiduciary would have offered the same funds that Defendants

 did as part of the Plan’s investment lineup. See, e.g., In re Unisys Sav. Plan Litig.,

 173 F.3d 145, 154 (3d Cir. 1999) (prudence of fiduciaries’ challenged act is

 measured against what “hypothetical prudent fiduciary” would have done). Such a

 claim cannot be made with respect to actively managed investments; they are

 widely held by investors and retirement plans. Plaintiffs plead only that “market

 research has indicated that investors should be very skeptical of an actively-

 managed fund’s ability to consistently outperform a passively-managed fund

 mimicking its benchmark.” (ECF 96 at ¶ 59.) Based on that, they allege that the

 American Funds Washington Mutual Fund—and any other actively managed

 option offered in the Plan—was not an “appropriate addition to the Plan menu.”

 (ECF 96 at ¶ 75.) Even if it is true that fiduciaries should be “skeptical” of

 actively-managed funds, however, that does not equate to a categorical bar on

 including such investments in a plan’s investment benchmark.

       There is no categorical rule prohibiting a 401(k) plan from making actively



 toward beating the index. Loomis, 658 F.3d at 669-70. As a direct result of the
 associated work and resources involved in this process, actively managed funds are
 inherently more costly than passive “index funds,” which “do not make any
 independent investment choices but simply track a designated portfolio such as the
 Standard & Poor’s 500 Index.” Id. (noting that index funds typically carry
 restrictions designed to prevent or discourage investor turnover).

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 managed funds available to participants. The portions of Plaintiffs’ claims that rely

 on such a rule must be dismissed.

       D.     Plaintiffs’ claim that the American Funds EuroPacific R4 Fund
              was not in the cheapest possible share class is speculative.
       Plaintiffs allege that Defendants breached their fiduciary duties by failing to

 offer the lowest-cost share class of the American Funds EuroPacific R4 Fund.

 (ECF 96 at ¶¶ 79–80.) More specifically, however, Plaintiffs allege only that there

 existed a share class of the fund cheaper than the one offered in the Plan. Plaintiffs

 do not actually allege that the lower cost share class was ever even available to the

 Plan, or what eligibility criteria or restrictions might have been imposed to move to

 the alleged lower cost share class.15 They also offer nothing to suggest it would

 have been per se imprudent for Defendants to conclude—based on, among other

 things, the possibility that participating employers were free (as Plaintiffs allege) to

 leave the Plan at any time—that the reasonable course of action, for this Plan, did

 not include moving to lower cost share classes, where doing so typically requires

 guaranteeing the investment manager a certain minimum investment balance.

       Plaintiffs’ conclusory allegation that Defendants failed to negotiate to obtain




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    In Tibble v. Edison Int'l, by contrast, the plaintiffs alleged that defendant
 fiduciaries failed to switch the plan’s investments to lower-cost share classes that
 were (1) available to the plan, and (2) identical other than with respect to the price
 to the plan. See 575 U.S. 523, 526 (2015).

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 the lower-cost share class is insufficient to state a claim for relief. ERISA does not

 require use of the least expensive share class. Renfro, 671 F.3d at 326-28

 (affirming dismissal of claim complaining of “inclusion of an array of Fidelity

 retail mutual funds”); Hecker, 556 F.3d at 586 (rejecting argument that plan should

 only offer institutional-class funds).

       Plaintiffs’ allegation that there is “no distinction whatsoever, other than

 price,” between offering different share classes to participants is, quite simply,

 false. (ECF 96 at ¶ 80). See, e.g. Leimkuehler v. Am. United Life Ins. Co., 713 F.3d

 905, 909 (7th Cir. 2013) (explaining that, while certain share classes include lower

 expense ratios, the decision to offer those funds typically requires higher direct

 charges to plan participants on other fees). Merely alleging that the Plan offers a

 share class other than the one with the lowest possible fee for an individual

 participant is insufficient to state a prudence claim. White v. Chevron Corp., No.

 16 Civ. 793 (PJH), 2017 WL 2352137, at *14 (N.D. Cal. May 13, 2017) , aff’d,

 752 F. App’x 453 (9th Cir. 2018). The Court need not accept Plaintiffs’ bald

 assertion on this point. Burlington Coat Factory, 114 F.3d at 1429–30.

 V.    Plaintiffs do not plausibly allege any breach of the duty of loyalty.
       Plaintiffs separately assert in their first cause of action that Defendants

 breached ERISA’s duty of loyalty, which requires fiduciaries to act “solely in the

 interest of the participants and beneficiaries.” 29 U.S.C. § 1104(a)(1)(A); Danza v.



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 Fid. Mgmt. Tr. Co., 533 F. App’x. 120, 123 (3d Cir. 2013) (“Section 404 in

 essence codifies a common law fiduciary's general duty of loyalty . . . to administer

 the trust solely in the interest of the beneficiaries.”).

        To plausibly allege a breach of the duty of loyalty, Plaintiffs would have to

 show that the fiduciaries acted “for the purpose” of benefitting themselves or a

 third party. Patterson v. Morgan Stanley, 2019 WL 4934834, at *1 (S.D.N.Y. Oct.

 7, 2019); see e.g., Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 596 (8th Cir.

 2009) (“The complaint alleges, moreover, that these options were chosen to benefit

 the trustee at the expense of the participants.”).

        In contrast, Plaintiffs do not allege that Defendants chose investment options

 to improperly benefit someone other than Plan participants, but instead claim use

 of certain funds resulted in payment of excessive compensation to Voya. (ECF 96

 at ¶¶ 50–56.) Indeed, Plaintiffs allege that the fact that Voya acts as the Plan’s

 recordkeeper, while certain Voya-affiliated entities also manage a portion of the

 Plan’s investment options poses a “potential” conflict of interest. (ECF 96 at ¶ 55.)

        A plaintiff cannot plead a claim for breach of the duty of prudence “simply

 by making a conclusory assertion that a defendant failed to act ‘for the exclusive

 purpose of’ providing benefits to participants and defraying reasonable

 administration expenses; instead, to implicate the concept of ‘loyalty,’ a plaintiff

 must allege plausible facts supporting an inference that the defendant acted for the



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 purpose of providing benefits to itself or someone else. Sacerdote v. New York

 Univ., No. 16-CV-6284 (KBF), 2017 WL 3701482, at *5 (S.D.N.Y. Aug. 25,

 2017), vacated on other grounds, 9 F.4th 95 (2d Cir. 2021). There is a difference

 between an action that has the effect of benefiting a party other than participants,

 and one that is taken with that effect as its goal; “[t]he former may well not be a

 violation of the duty of loyalty.” Id. at *6.

       Plaintiffs base their loyalty claim on speculation that Defendants’ decisions

 had the result of providing benefits to themselves or Voya. (See ECF 96 at ¶¶ 50–

 56.) This is not sufficient to state a claim. See White v. Chevron Corp., No. 16-CV-

 0793-PJH, 2017 WL 2352137, at *79 (N.D. Cal. May 31, 2017) (dismissing

 allegations that defendant engaged recordkeeper to further the recordkeeper’s

 interests as being entirely speculative, and unsupported by facts despite allegations

 that recordkeeper was defendant’s largest institutional shareholder and had a policy

 of voting proxy shares in favor of defendant’s management proposals), aff'd, 752

 F. App'x 453 (9th Cir. 2018).

       Ultimately, Plaintiffs’ loyalty claims are just a repackaging of their prudence

 claims—they claim the fees were too high, and that the Plan paid too much

 compensation to Voya. This is insufficient to state a claim. See Nicolas v. Trs. of

 Princeton Univ., No. 17 Civ. 3695, 2017 WL 4455897, at *3 (D.N.J. Sept. 22,

 2017) (dismissing duty of loyalty claims where they ““piggyback[ed] off of the



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 prudence claims, without any independent factual predicate”). Where there are two

 possible explanations, “only one of which can be true and only one of which

 results in liability, plaintiff cannot offer allegations that are merely consistent with

 its favored explanation but are also consistent with the alternative explanation.”

 White v. Chevron Corp., 752 F. App’x 453, 454 (9th Cir. 2018) (quotations

 omitted). Plaintiffs have not pleaded facts that, if true, would require a finding that

 Defendants acted for the purpose of benefiting anyone other than Plan participants.

 Accordingly, the Court should dismiss the breach of loyalty claim.

 VI.   To the extent Plaintiffs are asserting claims for failure to act in
       accordance with Plan documents, the Amended Complaint is entirely
       conclusory.
       In Count I of the Amended Complaint, Plaintiffs assert that Defendants

 violated a number of sections of ERISA, including § 404(a)(1)(D). (ECF 96 at

 ¶ 93.) This section requires that a fiduciary act “in accordance with the documents

 and instruments governing the plan . . . .” See 29 U.S.C. § 1104(a)(1)(D). The

 Amended Complaint pleads nothing to back this up. Plaintiffs do not identify any

 Plan provision Defendants failed to follow. Plaintiffs must do more than simply

 provide “labels and conclusions.” Davis v. Abington Mem’l Hosp., 765 F.3d 236,

 241 (3d Cir. 2014) (quoting Twombly, 550 U.S. at 555). The plan document claim

 is the epitome of labels and conclusion and must be dismissed.




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 VII. McCaffree’s claims were not tolled by the prior filing, and their
      timeliness must be measured from the Amended Complaint.
       In the event that the Court finds that McCaffree has set forth sufficient

 allegations to adequately plead both the existence of standing and plausible claims

 for relief, the Court should nonetheless dismiss any claim McCaffree is asserting

 prior to May 2, 2016 (six years from the date the Amended Complaint was filed),

 as any such claim is barred by ERISA’s statute of repose. See 29 U.S.C. § 1113(1).

       In the original complaint, MFC purported to represent “current participating

 co-sponsors or other fiduciaries”—a group that does not include McCaffree. (See

 ECF 1 at ¶ 77.) The principle known as American Pipe tolling provides that “the

 commencement of a class action suspends the applicable statute of limitations as to

 all asserted members of the class.” Am. Pipe and Constr. Co. v. Utah, 414 U.S.

 538, 554 (1974). Because McCaffree was not part of the originally proposed class,

 however, McCaffree’s limitations period was not tolled by the original complaint.

       Regardless, American Pipe does not toll statutes of repose. See California

 Pub. Employees' Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct. 2042, 2051–52 (2017)

 (“CalPERS”). ERISA’s six-year period to file suit for breach of fiduciary duty is a

 statute of repose, and is not subject to tolling under American Pipe. See Leber, 323

 F.R.D. at 152 (29 U.S.C. § 1113(1) is a statute of repose, and was not tolled for

 unnamed members of the putative class)’ see also CalPERS, 137 S. Ct. at 2050

 (citing 29 U.S.C. § 1113(1) as example of statute of repose).


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       As a statute of repose, 29 U.S.C. § 1113(1) “puts an outer limit on the right

 to bring a civil action.” CalPERS, 134 S.Ct. at 2182. In Leber, the original

 plaintiffs in a putative ERISA class action amended their complaint to add an

 additional named plaintiff, to cure a standing problem. and See 323 F.R.D. at 152

 & n.8. Following the CalPERS decision, the court held that American Pipe tolling

 does not apply to ERISA’s statute of repose, and thus considered the timeliness of

 the additional plaintiff’s claims from the date of the amended complaint. Id.16

       Applying those principles here, 29 U.S.C. § 1113(1) sets an outer bound of

 six years, at the most, for McCaffree to assert claims. The Amended Complaint

 adding McCaffree as an individual was filed May 2, 2022. (See ECF 96.)

 Accordingly, any claim McCaffree asserts prior to May 2, 2016—on his own

 behalf or on behalf of a putative class—must be dismissed. See De Vito v. Liquid

 Holdings Grp., Inc., No. CV156969KMJBC, 2018 WL 6891832, at *22 (D.N.J.

 Dec. 31, 2018) (dismissing putative class claims; plaintiff added to amended

 complaint had no timely claims under statute of repose, measured from time

 amended complaint was filed).




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   For this reason, McCaffree’s claims also were not tolled by Berkelhammer v.
 ADP TotalSource Group, Inc., (D.N.J. Case No. 2:20-cv-05696), even if he is part
 of the putative class there.

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 VIII. The Complaint should be dismissed with prejudice.
       Plaintiffs may not seek leave to amend their complaint when the basis of the

 amendment was known at the time of the initial drafting. See Kaplan v. Rose, 49

 F.3d 1363, 1370 (9th Cir. 1994), overruled on other grounds (“[L]ate amendments

 to assert new theories are not reviewed favorably when the facts and the theory

 have been known to the party seeking amendment since the inception of the cause

 of action.”); Divane v. Northwestern University, 953 F.3d 980, 987 (7th Cir. 2020),

 overruled sub nom. on other grounds (affirming denial of leave to amend

 complaint where facts were known to the plaintiff well before leave to amend

 sought). The Court has already held once the MFC failed to adequately plead

 standing. Defendants’ motion to dismiss the initial complaint set out this failure in

 detail. Plaintiffs’ Amended Complaint failed to correct the problem, and remains

 insufficient. Plaintiffs should not get another bite at the apple, because all relevant

 facts were clearly known to them at the time the Amended Complaint was filed.

 See George v. Kraft Foods Glob., Inc., 641 F.3d 786, 790 (7th Cir. 2011).

                                    CONCLUSION
       The Court should dismiss Plaintiffs’ Amended Complaint in its entirety with

 prejudice.




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                          CERTIFICATE OF SERVICE
       The undersigned hereby certifies that she electronically filed the foregoing

 Motion to Dismiss Plaintiffs’ Amended Complaint with supporting papers, with

 the Clerk of the United States District Court for the District of New Jersey using

 the CM/ECF system on this 6th day of June, 2022, which sent notification of such

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